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a “prs: USAO 2020R00225 .

UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MARYLAND

GBLR- 90 - 04)

 

UNITED STATES OF AMERICA CRIMINAL NO.
v. | (Possession of Child Pornography,
18 U.S.C, § 2252A(a)(5)(B); Forfeiture,
JAMES ROBERT WISSMANN, IV, 18 U.S.C. § 2253)
| FED _ewtenen
Defendant. HOSED ceive
MAR 9 2020
INFORMATION
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— “wn ULB. DOTRICT COURT
The United States Attorney for the District of Maryland charges that: , PATE ST CES ARYLAND

From on or about September 25, 2018, through on or about July 31, 2019, in the District

of Maryland, the defendant,
JAMES ROBERT WISSMANN, IV,

did knowingly possess and knowingly access with intent to view any material that contained an
image of child pornography, as defined in Title 18, United States Code, Section 2256(8)(A), which
image had been mailed, shipped, and transported using any means and facility of interstate and
foreign commerce and in and affecting interstate and foreign commerce by any means, including
by computer, and which was produced using materials that had been mailed, shipped, and
transported in and affecting interstate and foreign commerce by any means, including by computer,
that is, the defendant did possess and access with the intent to view a Samsung Galaxy S10, a
Samsung 87 Edge, a Samsung Tablet, an HP Pavilion Laptop, an iPhone Model: A1428, and aPNY
16GB Flash Drive, that contained one or more visual depictions of prepubescent minors engaged
in sexually explicit conduct.

18 U.S.C. §§ 2252A(a)(5\(B) & 2256
18 U.S.C. §2
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FORFEITURE
The Grand Jury for the District of Maryland further charges that:
1, The allegations of Counts One of this Information are incorporated here.
2. Pursuant to Federal Rule of Criminal Procedure 32.2, notice is hereby given to the
defendant that the United States will seek forfeiture as part of any sentence in accordance with 18
U.S.C. § 2253, 21 U.S.C. § 853, and 28 U.S.C. § 2461(c), as a result of the defendant’s conviction

under Count One of this Information.

Child Pornography Forfeiture

3. As a result of the offenses set forth in Count One of the Information in this case,
the defendant,
JAMES ROBERT WISSMANN, IV,
shall forfeit to the United States: |
a. Any visual depiction described in 18 U.S.C. §§ 2252 or 2252A, or any book,
magazine, periodical, film, videotape, or other matter which contains such visual depiction, which
was produced, transported, mailed, shipped or received in violation of Title 18, United States Code,
Chapter 110;
b. Any property, real or personal, constituting or traceable to gross profits or
other proceeds obtained from the offenses; and
c. Any property, real or personal, used or intended to be used to commit or to
promote the commission of the offenses, including but not limited to the following:
i. Samsung Galaxy S10 S/N: R388M10KRLKK
ii, Samsung $7 Edge: S/N: RF8HB2XBQHK
iii. Samsung Tablet, Model: SM-T377A, S/N: R52HA026M4A

iv. HP Pavilion Laptop, S/N: 5CD54642GR;
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v. iPhone Model: A1428, IMEI: 013437000201763; and
vi. PNY 16GB Flash Drive.

Substitute Assets

4, If any of the property described above, as a result of any act of omission of the
defendant:

a. cannot be located upon the exercise of due diligence;

b. has been transferred or sold to, or deposited with, a third party;

c. has been placed beyond the jurisdiction of the court;

d. has been substantially diminished in value; or

€. has been commingled with other property which cannot be divided without

- difficulty,

the United States shall be entitled to forfeiture of substitute property pursuant to 21 U.S.C. § 853,

as incorporated by 18 U.S.C. § 2253(b) and 28 U.S.C. § 2461(c).

18 U.S.C. §§ 2253, 853, 2461(c)

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Robert K. Hur
United States Attorney

Date: March d , 2020
